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            IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF TEXAS
                     BEAUMONT DIVISION
                                                                      FILED: 8/23/10
                                                                  U.S. DISTRICT COURT
                                                                EASTERN DISTRICT COURT
                               No. 1:10-CR-24 (3)               DAVID J. MALAND, CLERK


United States of America


v.

George Jovonn Young




     Findings, Conclusions and Recommendations on Guilty Plea


      This action is referred to the undersigned United States Magistrate Judge
to hear and receive defendant’s guilty plea. On August 23, 2010, defendant,
defendant’s counsel, and the attorney for the government came before the court
for a guilty plea and allocution on Count I of the Indictment charging a violation
of 21 U.S.C. § 846.

                                  Guilty Plea

      After conducting proceedings in the form and manner prescribed by Rule
11 of the Federal Rules of Criminal Procedure, and with consent of all parties,
the undersigned finds:
      (1)    Defendant, after consultation with counsel of record, knowingly and
             voluntarily consents to pleading guilty before a United States
             magistrate judge, and did plead guilty to Count I of the Indictment.
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      (2)       Defendant is fully competent and capable of entering an informed
                plea; is aware of the nature of the charges and the consequences of
                the plea; and the plea of guilty is a knowing and voluntary plea
                supported by an independent basis in fact containing each of the
                essential elements of the offense.

Accordingly, defendant’s guilty plea is accepted, and defendant is bound thereto.

                                  Plea Agreement

      [ ]       Defendant’s plea is an open plea, i.e., made without a plea
                agreement.
      [ T]      Defendant’s plea is made pursuant to a written plea agreement and
                stipulation of relevant facts, copies of which were produced for
                inspection and filed in the record.
      [ T]      The plea agreement is of the type specified in Fed. R. Crim. P. 11
                (c)(1)(A) in that the attorney for the government will not bring, or
                move to dismiss, other charges.
      [ T]      The plea agreement is of the type specified in Fed. R. Crim. P. 11
                (c)(1)(B) in that the attorney for the government will recommend, or
                agree not to oppose the defendant’s request, that a particular
                sentence or sentencing range is appropriate or that a particular
                provision of the Sentencing Guidelines, or policy statement, or
                sentencing factor does or does not apply (such a recommendation or
                request does not bind the court).
      [     ]   The plea agreement is of the type specified in Fed. R. Crim. P. 11
                (c)(1)(C) in that the attorney for the government will agree that a
                specific sentence or sentencing range is the appropriate disposition
                of the case, or that a particular provision of the Sentencing
                Guidelines, or policy statement, or sentencing factor does or does not
                apply (such a recommendation or request binds the court once the
                court accepts the plea agreement).

      [ T]      Defendant was advised that the court may defer its decision as to
acceptance or rejection of the plea agreement until it reviews the presentence
report, and was further advised:


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            [ T]   if the court rejects the plea agreement’s stipulations regarding
                   non-binding sentencing recommendations or requests,
                   defendant will have no right to withdraw the plea;

            [ ]    if the court rejects the plea agreement’s stipulations regarding
                   binding sentencing recommendations or requests, the court
                   will give defendant an opportunity to withdraw the plea of
                   guilty; and

            [ T]   if the court accepts that part of the plea agreement wherein
                   the attorney for the United States agrees to dismiss or not
                   bring other charges, such agreed disposition will be included
                   in the judgment; but if the court rejects that provision, the
                   court will give defendant an opportunity to withdraw the plea
                   of guilty; and

            [ T]   if defendant is given an opportunity to withdraw the plea of
                   guilty, and chooses not to, the court may dispose of the case
                   less favorably toward the defendant than the plea agreement
                   contemplated.


                           RECOMMENDATIONS

      Defendant should be adjudged guilty of the offense to which he has
pleaded guilty. The court should defer a decision to accept or reject the plea
agreement until it reviews the presentence report.

                                OBJECTIONS

      Upon conclusion of the guilty plea proceedings, all parties stated that they
do not object to the findings, conclusions and recommendations stated above.


                    23 day of August, 2010.
      SIGNED this _____




                                       ______________________________________
                                       Earl S. Hines
                                       United States Magistrate Judge

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